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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

SHELBY COUNTY, TENNESSEE,              )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )        Case 2:21-cv-02550-SHL-atc
                                       )
GOVERNOR BILL LEE, in his official     )
Capacity as GOVERNOR OF THE            )
STATE OF TENNESSEE,                    )
                                       )
      Defendant.                       )
______________________________________________________________________________

          MOTION AND INCLUDED MEMORANDUM OF DEFENDANT
        FOR CONTINUANCE OF PRELIMINARY INJUNCTION HEARING
______________________________________________________________________________

         Defendant Bill Lee, Governor of the State of Tennessee, by and through the Office of the

Tennessee Attorney General, files this Motion for Continuance of Preliminary Injunction

Hearing. The Court set the hearing on Thursday, September 9, 2021, at 10:00 a.m. (ECF No.

21). Defendant moves the Court for a continuance of this setting. The Court also has before it at

that same date and time a hearing on the application for preliminary injunction in G.S. ex rel.

Schwaigert, et al. v. Lee, Docket No. 2:21-cv-02552-SHL-atc (“Schwaigert”). 1 On the surface it

might appear that scheduling the two hearings together would promote judicial efficiency. But

the two cases are distinct in their legal theories. Schwaigert involves alleged violations of

individual Plaintiffs’ statutory rights under the Americans with Disabilities Act and Section 504

of the Rehabilitation Act of 1973 (as well as similar class allegations) whereas this case involves

Shelby County’s constitutional objections to Defendant’s Executive Order as well as a claim



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    To be clear, Defendant does not seek a continuance of the hearing scheduled in Schwaigert.
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invoking the American Rescue Plan Act of 2021.           Thus, it is unlikely that the proof in

Schwaigert will inform the Court’s analysis in this case (and vice versa) since the only apparent

commonality is that Plaintiffs in both cases challenge the same Executive Order. If the Court

denies preliminary injunctive relief to the Schwaigert Plaintiffs, Shelby County will not be

prejudiced. If the Court grants preliminary injunctive relief to the Schwaigert Plaintiffs, Shelby

County’s ability to proceed will not be affected.

       And it is not apparent that testimony will be required on Shelby County’s motion.

Rather, this case turns on legal questions that, again, are distinct from those in Schwaigert. The

Court should be able to resolve Shelby County’s application for preliminary injunctive relief

through briefing by the able counsel for Shelby County and counsel for the State.

       Time and timing are considerable factors for the Court to consider. Counsel for Shelby

County has proposed to file its motion for preliminary injunction on Friday, September 3—the

eve of the Labor Day holiday weekend. This shortens the available window for Defendant’s

responsive briefing to just two business days—near, if not past, the breaking point for

Defendants’ counsel, who are simultaneously preparing for the hearing in Schwaigert.

       Given these constraints, counsel for the State are faced with insufficient time to consider

and brief a response to Shelby County’s anticipated memorandum. Fed. R. Civ. P. 1 advises the

Court to employ its discretion “to secure the just, speedy, and inexpensive determination of every

action and proceeding.” Defendant submits that the Court should grant a continuance of the

hearing, and such other relief as may be just.




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                                                      Respectfully submitted,

                                                      HERBERT H. SLATERY III
                                                      Attorney General and Reporter


                                                      s/James R. Newsom III_____________
                                                      James R. Newsom (TN BPR No. 6683)
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                            CERTIFICATE OF CONSULTATION

        I hereby certify that I am one of the counsel for Defendant Bill Lee, Governor of the State
of Tennessee. On September 2, 2021, I conferred by telephone with Nathan A. Bicks, one of the
counsel for Plaintiff Shelby County pursuant to LR7.2(a)(1)(B) concerning the relief requested
by this motion. After consultation with Mr. Bicks, the parties are unable to reach an accord as to
the relief requested by Defendant.

                                                      s/James R. Newsom III_____________
                                                      James R. Newsom (TN BPR No. 6683)
                                                      Special Counsel


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 2nd day of September, 2021, a copy of the foregoing was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing report. Parties may access this filing
through the Court’s electronic filing system.


                                                      s/Robert W. Wilson________________
                                                      Robert W. Wilson (TN BPR No. 34492)
                                                      Assistant Attorney General

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